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Memorandum of Understanding

Purpose

The purpose of this Memomndum of Understanding (“MOU”) is to provide an outline of the relationship andresponsibilities between
Liberty University, Inc.,a Virginia Non-stock Corpomtion (“LU”), Falkirk Center Management, LLC. a Delaware Limited Lia bility

Company (“Falkirk Management”)and Pinnacle Strategy Partners, LLC,a Dela ware Limited Liability Company (“Pinnacle”), eachof

which may also be referred to individually as “Party” or collectively as “Parties,” untila formal contract more fully reflecting these
terms may beexecuted by the Parties, if they agree it is necessary and beneficial.

The Parties sign this MOU because they intend to create a high profile Christian public policy think tank which will be designed to
become the central thought and ethics development leader of the Christian Conservative movement for the younger generations, teaching
conservative public policy ideas that are consistent with and inspired by Jesus Christ andthe American Constitution. For purposes of
this document, this think tank will have the current working title of “The Falkirk Center” and may be referred to as the “Center” and
will be part of the operations of LU, at least initially.

The terms below providea general framework of the intentions and obligations of the Parties in connection with the Center:

1. Location:
a. The initial locationof the Center will be on the campus of LU in Lynchburg, Virginia.

2. Timing:
a. Itis the mtent of the parties thatthey both move forward immediately to achieve the purposes of this MOU.

3. Staffing and Contractual Engagements:

a. The initial staff is expected to consist of a full time Executive Director, and Center Administrator, an Influencer
Administrator, and es Mecniisier anda management team made up of various other individuals who will be
employees ofEa

i. The Executive Deector wil interface directly with the Senior Vice President for Communications and Public
Engagement of LU and is generally responsible for all the activities of the Center, manages all staff and
programmatic decisions, is the chief representative of the Center in all stakeholder settings and manages the
Center’s budget, all consistent with applicable LU policies and procedures.

ii. The Center Administrator will report directly to the Executive Director, actas the Center’s executive administrator
(e.g., manage office administrative tasks; manage contracts; and oversee website, publications and events (e.g,
actasaneditorin chief of Center publications, digital media and collateral; organize logistics of Centerevents)}

iii. The Influencer Administrator will report directly to the Executive Directorand oversee the Fellows, Champions
and Ambassadors (e.g., manage influencers and their activities; follow up on expectation guidelines for each
influencer; aid in recruiting Ambassadors; liaison to LU with digital media, social media, speaking events, and
LU events).

iv. The Editing Administrator will report to the Center Administrator and assist with the editor in chiefrole, including
the monthly publication described in Paragraph 6 c, below.

v. The other members of management team will report to the Executive Director or the Center staff member
designated by the Executive Director and havesuch duties as may beassigned by the Executive Director.

b. The Centerwill also contract with approximately six Fellows who will be independent contractors of LU with significant
stipends, whose Center-related travel costs and production costs will also be paid by LU and who would be fiee to be
otherwise employed or engaged. Pinnacle will recruit Fellows with some assistance and consultation with Falkik
Managementand LU, LU will have finalapprovalof anyandall Fellows.

i. Fellows will be socially relevant conservative Christians of high cahber, such as Jordan Dooley, David Harts,

Jr., Josh Murray, Antonia Okafor, Erika Frantzve and Jaco Booyens.

Fellows will communicate and distribute content that is Christ-centered and in line with the mission of the Center.
Fellows will be authorizedrepresentatives of the Center in media andatCenter events.

Fellows will appear and engage at University and Center events.

Fellows will appear and engage at activism events.

Fellows will produce content to appear in traditional media (print, television and ra dio).

Fellows will produce content tobe launched in digital media (video, podcasts and social media).

Fellows will produce content for Center publications and media.

Fellows will help design and promote Center merchandise.

c. The Center will also contract with approximately three to five Champions who will be full time employees of academic

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institutions and independent contactors of Falkirk Management and LY, and whose Center-related travel costs will be _

paid by LU. Liberty willrecruit Champions with some assistance and consultation with | a lirk Management angPnnack |
and LU will have finalapproval of any andall Champions.

 

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i, Champions will be conservative Christians of high caliber with terminal degrees, such as David Brat, Ph.D, Gary
Habennas, Ph.D.,and Benjamin Carson, M.D.
ii, Champions will communicate and distribute content that is Christ-centered and in line with the mission of the
Center.
Champions will be authorized representatives of the Center in media and at Center events.
Champions will appear and engage at University and Center events.
. Champions will produce content to appear in traditional media (print, television and radio), including academic
joumals, reviews and other publications.
| vi. Champions will produce content to be launched in digital media (video, podcasts and social media).
vi, Champions will produce content for Center publications and media.
| d. The Center will also affiliate with approximately 200 Ambassadors who will be social media influencers that are
volunteers, whose Center-related travel costs will be paid by LU and who would be free to be otherwise employed or
| engaged. Pinnacle willrecruit Ambassadors with some assistance and consultation with Falkirk Management and LU and
LU will have finala pproval of any and all Ambassadors.
i Ambassadors will generally be socially relevantconservative Christians with a large following on a given socal
media platform (between 10,000 and millions of followers), such as Graham Allen.
i. Ambassadors will communicate and distribute content thatis Christ-centered and in line with the mission of the
) Center.
ii. Ambassadors will be designated affiliates of the Center.
iv. Ambassadors will produce contentthat they launch in their social media and engage positively with other Center
digitaland social media content.
v. Ambassadors will help promote Center merchandise.

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4. Budgetand Cost:
a. _Itis anticipated that theannual operating budget for the Center will be approximately consistent with Exhibit A, attached

hereto and mcorpomted herein.

5. General Mission, Goals and Objectives:

a. The working mission statement for the Center is: To permeate society with Christ-centered evidence by proselytizing n
new and contemporary ways about citizen andcommumity matters to save a new generation of aspiring disciples.

b. To lunchnumerous digital social media and citizen engagement activities to build community and help tocreate a unifed
voice.

¢. To produce a monthly publication (print and online) with articles by the Center influencers and guest contributors, focused
on promoting and encouraging Christian civic engagement.

d. To host events for influencers and ordinary Christian citizens to educate and energize participation in the public policy and
election process from a Christian perspective.

e. Tobegina fundraising program for donors to help support the budget of the Center.

6. The Falkirk Center Programming and Message Production:
a. The Center will produce annual events for influencers, such as an intimate event for top Ambassadors in the fall and an
event forall Ambassadors late in the spring.
b. Working titles for Center content and materials can be changed with approval of LU.
c. The Center will produce a monthly publication with the current working title of “Legacy”.
i Legacy willbe circulated to LU alumniand supporters, as wellas Center supporters.

ii. Legacy will contain items such as a message from LU’s President, speech content from Center events and LU
events, exclusive essays and op-eds from Fellows, Champions and Ambassadors, and field reports (e.g., local
church activities and perspectives).

d. The Center will produce and assist its influencers m producing video and digital] content, such as video interviews,
podcasts, memes and the like.
e. The Center will havean online intemet presence with the current working title “Falkirk Center Online.”
i. Falkirk Center Online will becomeanonline portal forall things pertaining to the Center.

ii, Falkirk Center Online will contain elements such as Frequently Asked Questions and resources for aspiring

Christians inspired to engage with their community.
iii. Falkirk Center Online will contain monthly talking points for Ambassadors.
iv. Falkirk Center Online will feature an online version of Legacy.
 

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Ts inet University’s Obligations:
To provide funding from its operating budget to meet the portion of the budget unmet by earmarked donations for the

 

Centerthat will go through Falkirk Management, ang to pay to Pinnacle a proratedannual management fee of $600000__..(__ Deleted: nd
to provide the staffing descnbed in Paragraph 3 a, above.

b. To provideadministrative support for the daily operationsof the Center (suchas accounting, legal, marketing, procurement,
postal, information technology, webpage, etc.) above and beyond the Center’s budget.

c. Receive and receipttax deductible contributions earmarked for the Center and ensure such funds are segregatedand support
the Center’s budget.

d. Toprovide reasonable office, office furnishings, office equipment and other accommodations necessary forthe operation
of the Center above and beyond the Center’s budget. This obligation may be fulfilled through existing facilities at LU or
elsewhere at the option of LU.

e. Toutilize its alumniand supporter contact information to send Center communications without charge foreach contact.

f. To exercise reasonable diligence in providing approval of all matters subject toits approval

g. Tohosta Pastors & Politics event in Summer 2020 that will inchide at least 200 pastors and their spouses in attendance
and to inform andenergize them to participate in the policy andelection process above and beyond the Center’s budget.

8. Pinnacle’s Obligations:

To make Charlie Kirk available to serve, withouttitle, as the public ambassador of the Center.

To use its best efforts, mfluenceand personal connections to make the Center successful in fulfilling its mission.

To recruit and retain Fellows, Champions and Ambassadors consistent with this MOU.

To coordinate outside communications and messaging on behalf of the Center consistent with this MOU.

To produce Center programming consistent with this MOU.

To provide Center event logistics and travel logistics consistent with this MOU.

To manage andexecute the donor relations strategy consistent with this MOU,

To obtainadvanceapproval of from LU of any andall staff, consulting, and vendor agreements forthe Center.

To provide copies of signed, executed a greements forall sta ff, consultants, and vendors forthe Center.

To collaborate closely with LU through its Senior Vice President for Communications and Public Engagement, including

the establishment of transparent protocols for financial management of the Center with the highest standards of fiducary

responsibility.

k._To consistently provide financialreports with the frequency and detail specified in writing by LU’s Senior Vice President
for Communications and Public Engagement.

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10. Indemnification
a. The Parties shall mutually indemnify, defend, and hold each other and all its officers, employees, and agents hamlkess
from anda gainst anyandallactions, liabilities, claims, damages, suits, liens, judgments, attomey’s fees, andcostsarisng
out of or resulting from the negligent and/or unla wfulacts or omissions of any Party orany Party’s officers, employees,
agents, or subcontractors occurring during or in connection with performance under or regarding this MOU. This obligation
to indemnify each Party’s officers, employees, and agents shall survive the expiration or termination of this MOU forany
reason.

11. Termination
a. This MOU maybe terminated withoutany obligation or liability to any Party:
i, atanytime bythe mutualagreement of the Parties; or
ii, by any ofthe Parties for any reason, orno reason at all, by the provision of written notice tothe other Parties.

 

b. Notwithstanding any statement contained herein to the contrary, Section 10 hereof shall survive any termination or ee Deleted: 9

 

expiration of this MOU (other than by execution ofoneormore definitive agreements).
‘* Gase 6:21-cv-00055-NKM-RSB Document 36-16

Pinnacle Strategy Partners, LLC Liberty University, Inc,

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4940 E. Beverly Road 1971 University Boulevard
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PINNACLE STRATEGY PARTNERS, LLC LIBERTY UNIVERSITY, INC.
by by
Charlie Kirk Manager Date Jerry Falwell, Jr., President Date

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